      Case 5:21-cv-00915-DNH-ML Document 7 Filed 10/13/21 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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BISHOP ABRAHAM S.
ISRAEL and JESUS
CHRIST MINISTRIES,

                     Plaintiffs,

               -v-                         5:21-CV-915

CITY OF SYRACUSE et al.,

                     Defendants.

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APPEARANCES:                               OF COUNSEL:

ABRAHAM S. ISRAEL
Plaintiff, Pro Se
1409 S. McBride Street
Syracuse, NY 13202

DAVID N. HURD
United States District Judge

             ORDER ON REPORT & RECOMMENDATION

   On August 13, 2021, pro se plaintiff Abraham S. Israel (“plaintiff”) filed

this action alleging that defendants violated his civil rights while he was

preaching the gospel at a mall in Syracuse, New York. Dkt. No. 1. Plaintiff

also sought leave to proceed in forma pauperis (“IFP”). Dkt. No. 2.

   On September 16, 2021, U.S. Magistrate Judge Miroslav Lovric granted

plaintiff’s IFP application and advised by Report & Recommendation (“R&R”)
      Case 5:21-cv-00915-DNH-ML Document 7 Filed 10/13/21 Page 2 of 2




that plaintiff’s complaint be accepted for filing in part. Dkt. No. 4. Plaintiff

has not filed objections, and the time period in which to do so has

expired. Upon review for clear error, the R&R will be accepted and adopted

in all respects. See FED R. CIV. P. 72(b).

   Therefore, it is

   ORDERED that

   1. The Report & Recommendation is ACCEPTED.

   IT IS SO ORDERED.



Dated: October 13, 2021
       Utica, New York.




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